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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
              v.                              )
                                              )
RICHARD W. GATES III,                         )            Crim. No. 17-201-2 (ABJ)
                                              )
              Defendant.                      )


   DEFENDANT RICHARD W. GATES III’S NOTICE TO INFORM COURT OF
GOVERNMENT’S POSITION REGARDING DEFENDANT RICHARD W. GATES III’S
  MOTION TO MODIFY RELEASE CONDITIONS FOR LIMITED PURPOSES TO
              ATTEND CHILDREN’S SPORTING EVENTS

       Richard W. Gates III, by and through counsel, hereby provides notice to this Court that

the United States does not oppose Defendant Richard W. Gates III’s Motion to Modify Release

Conditions for Limited Purposes to Attend Children’s Sporting Events.

                                            Respectfully submitted,

                                            _/s/Shanlon Wu_______________
                                            Shanlon Wu
                                            D.C. Bar No. 422910
                                            Wu, Grohovsky & Whipple, PLLC
                                            Ronald Reagan Building and International
                                            Trade Center
                                            1300 Pennsylvania Avenue, NW, Suite 700
                                            Washington, DC 20004
                                            swu@dcwhitecollar.com
                                            202-204-3053 (Telephone)
                                            202-747-7518 (Facsimile)

                                            Walter Mack
                                            Admitted Pro Hac Vice
                                            Doar Rieck Kaley & Mack
                                            217 Broadway, Suite 707
                                            New York, NY 10007-2911
                                            212-619-3730 (Telephone)
                                            212-962-5037 (Facsimile)
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                            Annemarie McAvoy
                            Admitted Pro Hac Vice
                            McAvoy Consulting, LLC
                            mcavoypc@rocketmail.com
                            917-750-8131 (Telephone)

                            Attorneys for Richard W. Gates III




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